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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No: SA CV 23-00257-DOC-JDEx                                 Date: May 8, 2023

 Title: LDR International Limited v. Sara Jaqueline King, et al.



PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

           Karlen Dubon                                    Deborah Parker
          Courtroom Clerk                                  Court Reporter

      ATTORNEYS PRESENT FOR                           ATTORNEYS PRESENT FOR
            PLAINTIFF:                                     DEFENDANT:
          Ronald N. Richards                                None Present
           Geoffrey S. Long


 PROCEEDINGS:                SCHEDULING CONFERENCE

       No defendant nor defense representation present.

       The case is called. The Court and counsel confer.

       The Court GRANTS plaintiff’s Ex Parte Application for Order for to be able issue third-
       party business record subpoenas relating to the fraud in this case [21].

       The Court’s scheduling order to issue.




                                                                                   :     05
                                                                   Initials of Deputy Clerk: kdu
